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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  JOHN DOE 1, et al.                             )
                                                 )
                 Plaintiffs,                     )
                                                 )
          v.                                     ) Case No. 25-300
                                                 )
  U.S. OFFICE OF THE DIRECTOR OF                 )
  NATIONAL INTELLIGENCE, et al.                  )
                                                 )
                 Defendants.                     )

                                      [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ Motion to Proceed Pseudonymously, the Memorandum

 of Law in Support thereof, and the entire record herein, it is hereby:

        ORDERED that Plaintiff’s Motion to Proceed Pseudonymously is GRANTED.

        Entered this ______________ day of February, 2025.



                                               _______________________________
                                               U.S. District Court Judge




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 NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER UPON ENTRY

 The following are entitled to be notified of entry of the above Proposed Order:

 The Hon. Pamela J. Bondi                     The Hon. Erik S. Seibert
 Attorney General of the United States        U.S. Attorney for the Eastern District of Virginia
 c/o Jolene Ann Lauria                        c/o Dennis Barghaan
 Acting Assistant Attorney General            Chief, Civil Division
         for Administration                   U.S. Attorney’s Office for the
                                                      Eastern District of Virginia
 U.S. Department of Justice                   Justin W. Williams U.S. Attorney’s Building
 950 Pennsylvania Avenue, NW                  2100 Jamieson Avenue
 Washington, DC 20530-0001                    Alexandria, VA 22314
 Phone: 202-514-2000                          Phone: 703-299-3700
 Email: jlauria@usdoj.gov                     Email: dbarghaan@usdoj.gov

 Attorney for Defendants

 Kevin T. Carroll
 Fluet
 1751 Pinnacle Drive
 Suite 1000
 Tysons, Virginia 22102
 Phone: 703-590-1234
 Email: kcarroll@fluet.law

 Attorney for Plaintiffs




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